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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                           for the
                                                   District of Columbia


             UNITED STATES OF AMERICA
                             Plaintiff
                               V.                                    Case No. 17-cv-02511 (RJL)
                       AT&t, INC., et al.
                            Defendant

                                             APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America


Date:          02/22/2018
                                                                                        Attorney's signature


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